                Case 1:19-cv-10456-JCB
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                                  UNITED STATES DISTRICT COURT                                            ......,
                                FOR THE DISTRICT OF MASSACHUSETTS
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         Jose Delacruz                                                                  ~r::c:i
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                                                                                                                                 rn
               Plaintiff,

               V.                                            Civil Action No.

           Thomas A. Turco III,                          Complaint for Jury Trial
           Carol A. Mici,
           :qouglas Cabral,
           Joy Gallant,
           Thomas N. Neville,
           Kristyn Camilleri,
           Harold W. Clarke,
         . Luis S. Spencer,
           Karen L. Dinardo, .
           Ronald Boivin,
                                                                                                     _)
           Peter A. Pepe Jr,
           Michael Sedgwick,
           Cynthia Briggs,
           Donna Sweeney,
             In their Official & Individual                                       \.
          Capacities
               Defendants.



          1.        Jurisdiction is asserted pursuant to U.S.C.§ 1983

          A.        Plaintiff is Convicted and sentenced state prisoner.
                                                 /


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          2.        Plaintiff has one Previously Dismissed Federal Civil Actions or Appeals.

                    a.      Parties to previous lawsuit:
                            Plaintiff: JOSE DELACRUZ
                            Defendants LUIS S. SPENCER & CAROL MICI

                    b.      Court and docket number: District of Massachusetts 13-cv-10327-DJC
/
                    c.      Grounds for dismissal Complaint was deemed frivolous _


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      d1 Approximate date of filing lawsuit: March 17, 2013

      e. Approximate date of disposition: January 13, 2015

3.    Place of Present Confinement is:
      New Jersey State Prison
      3rd & Federal St.
      P.O. 861 .
      Trenton, NJ 08625

4.   - Parties

A.    Names of Plaintiff: Jose DelaCruz
      Address: P.O. Box 861
      Trenton, New Jersey 08625

      Inmate#: 641441/SBI#Oso1612647

B.    First Defendant name: Thomas A. Turco III
      Official position: Commissioner

      Place of employment: Massachusetts Department of Correction

      D,efendant Thomas A. Turco III, (herein Turco) is responsible for the Plaintiffs
out of State transfer and seeing that Plaintiff receives meaningful access to
Massachusetts Courts. Defendant Turco has violated Plaintiffs right to the 6th and 14th
Amendment.

C.    Second defendant - name: Carol A. Mici
      Official position: Deputy Commissioner
      Place of employment: Massachusetts Department of Correction

      Defendant Carol A. Mici (hereiri Mici) is responsible for the Plaintiffs out of State
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transfer and seeing that Plaintiff receives meaningful access to Massachusetts_ Courts.
Defendant Mici has violated Plaintiffs right to the 6th and 14th Amendment.

D.    Third defendant:
      Name: Douglas Cabral
      Official position: Manager County, Federal and Interstate
      Classification Division

      Place of Employment: Massachusetts Department of Correction


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       Defendant Dougla~ Cabral (herein Cabral) is responsible for the Plaintiffs out of
State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
Courts. Defendant Cabral has violated Pl,aintiffs right to the 6th and 14th Amendment.

E.     Fourth defendant:
       Name: Joy Gallant        ,
       Official position: Manager County, Federal and interstate unit Classificati~n
       Division.

       Place of Employment: Massachusetts Department of Correction. ·

       Defendant Joy Gallant (herein Gallant) is responsible for the Plaintiffs out of
. State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
Courts. Defendant Gallant ha~ violated Plaintiffs right to the 6th and 14th Amendment.

F.     Fifth defendant:
       Name: Thomas N. Neville ·
       Official position: Deputy Director of Classification .
       Place of employment: Massachusetts Department of Correction

       J?'efendant Tpomas N. Neville (herein Neville))s responsible for the Plaintiffs out
of State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
Courts. Def~ndant Neville has violated Plaintiffs right to the 6th and 14th Amendment.

G.     Sixth defendant:
       Narrie: Kristyn Camiller
       Official position: Education Division                  ,
       Place of employment: Massachusetts Department of Correction

       Defendant Kristyn Camiller (herein Camiller) is responsible for the Plaintiffs out
of State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
Courts. Defendant      Camiller has violated Plaintiffs right to the 6th and 14th
Amendment.                      • I




H.     Seventh. defendant:
       Name: Harold W. Clarke
       Official position: Former Commissioner
       Place of Employment: Massachusetts Department of Correction



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           Defendant Harold W. Clarke is responsible for the Plaintiff's out of State transfer
  and seeing that Plaintiff receives meaningful access to Massachusetts Courts. Defendant
  Clarke has violated Plaintiffs right to the 6th and 14th Amendment.                   J

  I.       Eighth defendant:
           Name: Luis s:spencer
           Official Position: Former Commissioner
           Place of Employment: Massachusetts Department of ~orrection

           Defendant Luis S. Spencer is responsible for the. Plaintiff's out of State transfer
   and seei~g that Plaintiff receives meaningful access to Massachusetts Courts. Defendant
   Spencer has violated Plaintiffs right to the 6th and 14th Amendment.

   J.      Ninth defendant:-
           Name: Peter A. Pepe Jr
           Official Position: Superintendent of Concord MCI
         ' Place of Employment: Massachusetts Department of Correction

            Defendant Peter A. Pepe Jr. (herein Pepe) is responsible for the Plaintiff's out of
  -State transfer and seeing that Plaintiff receives meaningful access to :fylassachusetts
   Courts. Defendant Pepe has violated Plaintiffs right to the 6th and 14th Amendment.


' ' K.       Tenth defendant:
             Name: Cynthia Briggs
             Official Position: Classification board member
           · Place of Employment: Massachusetts Department of Correction

            Defendant Cynthia Brigs (herein Briggs) is responsible for the Plaintiffs out of
   State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
   Courts. Defendant Briggs has violated Plaintiffs right t~ the 6th and 14th Amendment. ,




   L.       Eleventh defendant:
            Name: Michael Sedgwick
            Official Position: Classification Board Member
            Place of Employment: Massachusetts Department of Correction




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                                Defendant Michael Sedgwick (herein Sedgwick) is responsible for the Plaintiffs
                          out of State trap~fer and seeing that Plaintiff receives meaningful access to
                          Massachusetts Courts. Defendant Turco has violated Plaintiffs right to the 6th and 14th
                          Amendment.


                          M.    Twelfth defendant:
                                Name: Ronald Boivin
                                Official Position: Security board member for Classification
                                Place of Employment: Massachusetts Department of Correction

                                Defendant Ronald Boivin (herein Boivin) is responsible for the Plaintiffs ou/of,
                          State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
                          Courts. Defendant Turco has violated Plaintiffs right to the 6th and 14th Amendment.

                          N.    Thirteenth defendant:
                                Name: Karen L. Dinardo
                                Official position: Dep~ty Superintendent
                                Place of Employment: Ma~sachusetts Department of Correction

                                Defendant Karen L. Dinardo (herein Dinardo) is responsible for the Plaintiffs out
                          of State transfer and seeing tHat Plaintiff receives meaningful access to Massach~setts
                          Courts. Defendant Dinardo has violated Plaintiffs right to the 6th and 14th Amendment.

                          0.    Fourteenth Defendant
                                Name: Donna Sweeney
                                Official Position: New Jersey interstate coordtnator
                                Place of Employment: New Jersey Department of Correction

                                Defendant Donna Sweeney (herein Sweeney) is responsible for the Plaintiffs out
                          of State transfer and seeing that Plaintiff receives meaningful access to Massachusetts
                          Courts. Defendant     Sweeney has violated Plaintiffs right to the 6th and 14th
                          Amendment.                                         j

                                                                         )

                          5.    I previously have sought formal relief from the appropriate administrative
                          officials regarding the acts complained· of in the Statement of Claims. Plaintiffs has
                          exhausted all remedies with the New Jersey Department of Correction to no avail and


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, was forward to Massachusetts Department of Correction. Where he exhausted all
  remedies to no avail.

  6. Statement of Claims:

               CJLAJM 1 - Lack Of Access - Plaintiff Was/Is Denie4
               Access To Massachusetts. Courts And Case Law, He
               Should Have Been Sent .Back To Massachusetts
               Department Of Corrections And Giving Access To
               Their 1-,aw Library ·And :personal Who Are Trained
               To Assist Massachusetts Prisoners With Their Cases.
               Therefore Defendants Violated Petitioner 6 And 14
               Amendment Rights


  1.     On May 21, 2009, the Plaintiff was convicted and sentenced to life without par~le,
         with a 4 to 5 year sentence running concurrent. In -Suffolk County Superior court,
        ,Boston, Massachusetts. Plaintiff was committed · to and transfer to the
         Massachusetts · Department of Correction at Concord. Due to the Institution
         policy, since the Plaintiff was a newly committed lifer. He was retained to the
         Special management unit. (The hole) Awaiting a fast track transfer to a
         maximum-security facility.


  2.     The Plaintiff contends that although the library at New Jersey State Prison was
         adequate to ensure his access to the New Jersey courts, it was' not adequate to
         ensure his access to the Massachusetts courts. As the following will lay out it is
         beyond dispute that the New Jersey State Prison library itself lacks the
         Massachusetts materials necessary to ensure meaningful access to the
         Massachusetts courts. It is firmly established that "prisoners have a
         constitutional right of access to the courts. "The access must be "meaningful," and
         correctional authorities must provide "prisoners with adequate law libraries or
       · adequate assistance from persons trained in the law." The Plaintiff must pe
         provided with the prearrangement of either an adequate library or adequate
         assistance is necessary. ·Plaintiff Delacruz alleges that he was provided with
         neither.


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3.   Because specific citations are required to put a sound legal ar?ument together ·
     access ~flterials from the State of Massachusetts Department of Corredctions are
                     I

     .necessary. Plaintiff argues that New J~rsey State Priosn library does not satisfy
     constitutional requirements. Futhermore it is doubtful that many. lawyers and
     judges could do minimally adequate research if they were required to request
     materials by mail via specifi.d cit~tions as the defendants in this action require of
     Plaintiff. Requiring Pliantiff prior identification of specific volumes is ;:suspect,"
            l


     because 'it is unrealistic to expect a prisoner to know in advance exactly what
     materials he needs to consult." Therefore defendants requiring provision of
     "precise citations ... is.obviously a Catch 22 ..


4.   Plaintiff continually is· in need of adequate assistance from persons trained in
     Massachusetts law. The Inmate Legal Association (herein LL.A.) [ LL.A. is a
     prison based legal clinc] declined to assist the Plaintiff because it c~uld not work
     on criminal appeals or on matters involving Massachusetts law. The Plaintiff
     actively sought legal assistance, but fell through the cracks in the system through
     no fault of his own.


5.   Under these circumstances, having given Plaintiff access to neither assistance by
     persons trained in the law nor adequate Massachusetts ·1egal materials, the
     Defendants     cannot be deemed to have provided meaningful access to the
     Massachusetts bourts.
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6.   (Exhibit Pa-1) 7-27-09, Plaintiffs Inmate Complaint Form In which Plaintiff
     complained about his due process being violated and the lack of privileges he is
     being afforded. In which Deputy Supt. Karen L. DiNardo responded that Plaintiff
     was being held on Administrative Segregation due to his sentence.
7.                                                                       '
     (Exhiibit Pa-2) 7-29-09, Plaintiff received a latter from Karen L. DiNardo
     informing Plaintiff the she received information by Central Classification that
     caused them concern for Plaintiffs safety if placed in Souza Baranowski



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      Correctional Center. Ms. DiNardo also abreast Plaintiff that he has been classified
      at MCI-Concord.


8.    (Exh:iibiit
        :
                  Pa-3)   8-5-09, Letter from Caror A. Mici to Plaintiffs attorney
      Charles K. Stephenson. Defendant Mici abreast Attorney Stephenson that her
      office was recently notified by personal at MCIConcord that Plaintiffs quality
      assurance was completed and his board is now pending review by her office. Once
      a final decision has been rendered, the Plai~tiff will be notified by institutional
      staff.


9.    (Exhibit Pa-4) 8-19-09, Letter from Defendant Peter A. Pepe, Jr. to Plaintiffs
      attorney Charles K. Ste'phenson. Defendant Pepe, abreast attorney Stephenson
      that Plaintiff is being held in the Special Management Unit due to concerns about
      his safety.


10.   (Exhibit Pa-~). 4-27-10, Letter from Defendant Carol A. Mici. to Plaintiff, in
      which she abreast Plaintiff to his April 14th , 2010 letter to Commissioner Harold
      W. Clarke and his April letter to her office requesting a return to Massachusetts
                            I                   ,_,
      and access to Massachusetts Legal/Law materials. Defendant Mici informed
      Plaintiff that based on his recent transfer September 9th', 2009, and his February
      18th , 2610 disciplinary report for fighting, and continued conflict issues in
      Massachusetts, Plaintiff shall remain'in New Jersey,~t thj~ time..


11.   (Exh:iibi1t Pa-6) 5-12-10, Letter from ~ren L. DiNardo to Plaintiff. Defendant
      DiNardo told Plaintiff that County and Interstate Manager Tho1i1ias Neville is the
      proper authority to review his requ·est for his return to Massachusetts.


12.   (Exhibit Pa-7)       6-22-10, Letter from Defendant Mici to Plaintiffs attorney
                                                                   ,              I

      Charles K. Stephenson, in which Defendant told Plaintiff lawyer that for his
      individual self-protection, he will not be allowed to return to his home state.
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       Defendant also told Plaintiffs lawyer that on April 27, 2010 a letter from her
       office was sent to Plaintiff addressing his Legal/Law materials issue.


13.    (Exhibit Pa-8)       9-28-11, Letter to Defendant Mici from Plaintiffs attorney
       Charles K. Stephenson iii which· he in enclosed CORI forms completed by
       ~laintiff, requesting that information be released .to Plaintiffs sister Fallon
       Delacruz and Plaintiffs attorney information explaning ongoing placement in
       New Jersey State Prison, and his temporary transfer to Massachusetts, where the
       Plaintiff was held two weeks at MCI Ceder.


1~,.   (Exhftbit Pa-9)      9-28-11, Letter from Charles K. Stephenson to Defendant
       Mici, in which attorney
                           '\
                               Stephenson notified Defendant Mici that the Plaintiff was
                                             .


       temporarily transported to MCI Ceder Junction, where he was held
       approximately two weeks and again transported to New Jersey.


15.    (Exhftbit Pa-10)     5-6-11, Letter from Defendant Donna Sweeney, who is the
       Supervising Administra'.tive Analyst for the New Jersey Department of
       Corrections. This letter was sent to Plaintiff ·in reference -his request . for
       information in which she told Plaintiff that this information must be\ obtained
       from the Massachusetts Department of Corrections.
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16.    (Exhibit JP'a-11)    5-12-11, Letter from Defendant Mici to Plaintiff in which
       Defendant Mici stated that she is receipt of Plaintiffs letter dated April 6, 2011
       regarding his request to return to Massachusetts and a copy of Plaintiffs updated
       progree report from New Jersey authorities. She expresse~ that "we will continue
       to monitor" Plaintiffs adjustment. But he will will not be returned to
       Massachusetts at this time.
17.    (Exhibit Pa-12)      8-8-11, Letter from Karen L. DiNardo inl which she addressed
       that she was in receipt of Plaintiff August 1, 2011 letter documents (unspecified)
       regarding Plaintiffs Out of State transfer. DiNardo enclosed a copy of Plaintiffs
       classification sign off from the Transfer Board. DiNardo also forward a copy of


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              Plaintiffs letter to Tom. Neville,' County/Interstate Manager who according to
              DiNardo is the proper authority to address any of Plaintiffs out of state placement
              concerns.


        18.   (Exhibit Pa-13)         8-8-11,   Letter from Defendant Sweeney to Plaintiff regarding
              Plaintiffs placement in New Jersey pursuant to the Corrections Compact.
              Defendant advised Plaintiff that "questions regarding any due process hearings or
              determinations that should have occurred shoud be addressed to the
              Massachusetts Department of Corrections," as Pliantiff remains in their legal
              custody.


        19.   (Exhibits Pa-14)        9-22-11,    Letter from Defendant Thomas N. Neville the
              Deputy Director of Classification to Plaintiff advising that Plaintiffs letter dated
              May 2 nd,   2011   regarding the Interstate Corrections Agreement and the reason for
              Plaintiffs transfer out of state has been referred to Defendant Neville for a
              response. Defendant Neville stated he enclosed a copy of the              103   DOC   419

              Federal/Interstate Compact Policy. Defendant also stated that he attached a copy
              of Plaitiffs Classificaiton board decision which includes the rationale for your out
              of state transfer.


        20.   (Exhibits P~-15)        3-23-12,    Letter from Plaintiff to the Manager of Library
              Services, in which Plaintiff let the Manager of Library Services know that he was
                 I
              refered by Defendant Mici and Defendant Neville. In this request Plaintff need
              over 100 casese for research purposes.


        21.   (Exhibit Pa-16)        4-18-12,   Letter to Defendant Mici from Plaintiff. In this letter
        ·~    Plaintiff addressed his legal access issues stating that "for almost a year now- I
              have been sendind my Law/Legal request to the Manager of library services as
              you directed me to do, I received no response, then on April rt:h,           2012,    New
              Jersey State Prison, ifficials returned my last request for Law/Legal material sent
              to the Manager of library service, and on the envelop it states that my letter


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      cannot be delivered as addressed." Plaintiff further went on to state that
      Defendant Mici provided him with false information which has lead the Plaintiff
      to be denied legal access for approximately a year during a critical time in his
      criminal appeal. Plaintiff also stated that New Jersey is unabl~ to accommodate
      his Law/Legal request and his seeks immediate retrn to his home jurisdiction so
      he may gairi the legal acces required to file a meaningful appeal.


22.   (Exhibit Pa-17)         Plaintff returned letter address,ed to the Manager of Library
      Services. As referenced in (Exhibit Pa-6).
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23.   (Exhibit Pa-18) . 6-11-12, Letter from the Manager of Library Services Donna
      Godinmessier, in w~ich she informed Plaintiff that his letter to Defendant Mici
      dated April 18, 2012 regarding access to legal materials and a return to
      Massachusetts. was refered to her. She advised Plaintiff that his transfer out of
      state was in accordance
                      )
                              with Massachusetts DOC 419 Federal/Interstate Compact
                                                        .


      Policy. She also let the Plaintiff know that the address previously provide to
      Pliantiff for request for legal m'.aterials is valid. She ,futher stated that it appears.
      Plaintiff provided a P.O. Box as well as a street address when trying to mail his
      most recent request for legal materials, and this is why is was marked as
      undeliverable.


24.   (Exhibit Pa-19)         A G-183/S form: New Jersey State Prison Message Pad to
      Shurly Stephen from S. Lawens. Remark stated "get back to me asap".


25.   (Exhibit Pa-20)         4-6-12,   New Jersey Department of Correction In~ate
      ·Remedy System form from Plaintiff to New Jersey State Prison Admin. Charles
      Warren, in which Plaintiff addressed his needs for Massachus~tts case law, and
      New Jersey State Prison does not carry this law. The response was Massachusetts
                  !       .
      will provide case law.




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           26.       (Exhibit Pa-21)     7-20-12,   New Jersey Department of Corrections Inmate
                     Remedy System Form. from the Plaintiff to Suszanne Lawrence, in which the
                     Plaintiff addressed his need for Massachusetts case la~ sent to litigate his
                     criminal case becase New Jersey State Prison personel are unable to help
                          -                   --
                     Plaintiff. -Plaintiff has submitted several passes to the New Jersey State Prison
                     Law Library only to be told he can not be helped.


           27.       (Exhlbit Pa-22)     4-6-12, Remedy Respon~e from Law Library/Educational
                     personal Dan Williams. In which Dan Williams stated "As I explained to 1/M.
                              '                     ,

                     I do not nor am I compell~d to Supply cases of Mass. Law. I told him
                                                                                   1




                     that some of the specifics he was requesting would have to come from
                     the Mass. Law Coordinator other cases as pecified would the
                     research."


           28.       (Exhibit Pa-23)     5-20-14, .New Jersey Department of Correction Inmate
                                                                   \


                     Remedy System Form; Plaintiff once again reminded New Jersey Prison Personal
                     that he was prepairing criminal and civil appeal all under the Jurisdiction of
                     Massachusetts, which New Jersey Statep Prison dose not carry. Plaintiff was.
                     informed to put in a law library slip. Plaintiff also received an unreadable
                     response.


           29.       (Exhibit Pa-24)     11-28-2016, Inquiry Ref# 275255, to New Jersey State Prison
                     Education/Law Library to S4pervisor of Education Francine Stro1;Ilberg, in this
                     _inquiry Plaintiff stated "This has become a continuous problem that needs to be
                     address ASAP. For the past 7 yeas this law library (NJSP) Has failed very badly-to
                     provide me with the proper access to Massachusetts state laws that include basic
                     areas Uke The rules of court, guidelined of rule of evidences, Mass. Generl laws_
                 .
                     C.278 33E and ect. For me to argue my criminal case as well as civil. This has I



                     become a hardship for me and co_ntinue to having to ask the courts for time
                                                                                                    i
                     extension due this problem. is starting to to over .bearing becase it up to the
                     courts to grant is or not and leave me depending on a system that don't have the


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        tools I need   to address the courts. I ask for this matter to be looked into.
                                                 J               .
                                                                                         Thank
        you." In which the Supervisor of Education replied According to the law library
        associate, she was never asked about Massachusetts law. She would need to know
        what you need to put in ap. internet search to see if we may be able to help.


30.     (Exhibit Pa-25)           12-09-16, Inquiry Ref#287173, fro~ Plaintiff to Educational
        Supervisor Francine Stromberg. Plaintiff addresse~ his conserns that there, was
        no paralegals who have knowledge in Mass. State laws to help Blaintiff argue and
        litigate his criminal case or give him advice. Ms. Stromberg adviced Defendant to
        write Donna Sweeney for the information he is seeking.

                                                           '
31.     (ExhibiitPa-26)           12-13-16, Inquiry Ref# 291328, from Plaintiff to New_Jersey
        State Prison Adminisration 'in which Jessica Smith responded "accorind to Donna
        Sweeney from Interstate Seryices. Ms. Kristyn Cailleri from Massachusetts· has
        received and responded to your letter; You should expect to receive her response
        sdon.


32.     (]~hlbiit Pa-27)
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                                  12-16-16, Letter of Plaintiff addressed to Deputy Director of
        Classification Thomas N. Neville, in which Plaintiff addressed his concerns of not
        being provided with meaningful and effective access to the courts as Casey v.
        Lewis, 518 U.S. 343 116 s.Ct. 2174; and Bounds v.' Smith, 430 U.S. 817 (1977).
        Plaintiff also let Mr. Neville, know that he had legal issues presently pending in
        the Massachusetts State court system.

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33.     (Exhibit Pa-28)           12-17-16, Grievence Ref#295303, Plaintiffs grievence to
        NJSP Administrator Steven Johnson, in which he informed him that the legal
        access provided at NJSP is not meaningful and effective. NJSP personal Jessica
        Smith responded to Plaintiff that he sould be receiveing a· response in the mail
        from Kristyn Camilleri of Massachusetts very soon. NJSP Administrator
                                        /

        responded "If you want to back to Massachusetts, you need to convey that to the
        Massachusetts DOC. We are very close to increasing the capacity of our law
                              •                                              I
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"   •   '1 ,




                     library with more computoers and a· new system. The content however will
                     remain the same."


               34.   (Exhibit Pa-29)      12-28-16, Letter from Douglas Cabral Manager county,
                     Federal & Interstate Unit Classification Division. In this letter he. informed
                     Plaintiff to contact Kristyn Camilleri, Paralegal for legal material, as w~ll letting
                     Plaintiff know that Mr. Neville no longer works for the Classificaion Division.


               35.   (Exhibit Pa-30)      1-3-17, 'letter from Donna Sweeney to Plaintiff in regards to
                     Plaintiff letter dated December 16th, 2016 in which Donna Sweeney stated that
                     Plaintiff letter was electronically fonyarded to Massachusetts for review. She also
                     informed Plaintiff that he should contact Kristyn Camilleri of Massachusetts .
                     Department of Corrections.


               36.   (Exhibit Pa-31)      1-6-17, Plaintiffs letter to Kristyn Camilleri in regards_ to
                     grossly inadequate legal acdess to the Mass. Courts. Plaimiff also informed
                     Kristyn Camilleri that he had pending litigation in the Mass. Courts.
                                              '


               37.   (Exhibit Pa-32)      1-'12-17, Letter from Kristyn Camilleri to Plaintiff in regards
                     to his January 6th , 2017 letter. Kristyn Camilleri informed Plaintiff that -she can
                     provide Massachusetts case law, court rules, statutes, inf9rrhation from digest
                     a11d practice manuals.


               38.   (Exhibit Pa-33)      1-20-17, Letter from Plaintiff addressed     to Kristyn Camilleri
                     in which Plaintiff requested Massachusetts Rules of Courts, Rules of Evidence
                     and Guidelines of Evidence
                                         I
                                                and the Massachusetts, General laws (c).

                                                                                   u
               39.   (Exhibit JP'a-34)    2-1-17, Letter from Kristyn E. Camilleri to Plaintiff in regards
                     to his ianuary 20th , 2017 letter. In which she advised Plaintiff that she can only
                     respond to specific legal research request. She also provided Plaintiff with a copy



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      of the table of contents for each of the publications to assist in narrowing his
      request.


40.   (Exhibit Pa-35)      2-16-17, Letter from Kristyn Camilleri to Plaintff in which she
      stated that she was in rec~ipt of his correspondence dated February 6, 2017. She
      request that he use a table of contents of the publications that P~aintiff requested·,
      and that she cannot send Pliantiff an entire publication.' ·


41.   (Exhibit Pa-36)      Undated letter from Plaintff to Camilleri in response to her
      February'16th , 2017 letter. Plaintiff informed her that (1) no research assistance is
      provided, (2) as a layman and pro se litigant one does not know what he is
      actually looking for. such a policy, custom and practice amounts to inadequate,
      ineffective, non-meaningful access to the law library and most of all the Courts.
                                                                I
                                                                .J


42.   (Exhibit Pa-37)      4-5-17,_Letter from Kristyn E. Camilleri to Plaintiff~nforming
      Plaintiff that his request or entire legal publication can not be granted. Ms.
      Camilleri provided Plaintiff with a table of Contents.


43.   (Exhibit Pa-38)      9-5-17, Lett~r from Plaintiff to M~. Camilleri in which
                                         I
                                    .    I
      Plaintiff made reference to Ms. Camilleri April 5, 2017 correspondence. Plaintiff
      let Ms. Camilleri know that she failed to send him the Massachusetts General
      Laws. Plaintiff also requested Mass. General- Law ,278 § 33E, the rules for
      ineffective assistance, Direct appeal and motion for new trial "Rule 30".


44.   (Exhibit Pa-39)      9-11-17, Letter from Kristyn Camilleri informing Plaintiff that
      she has sent him M.G.L. c.278§33E, annotations to the statute relatJng
      specifically to the issue ineffective assistance of counsel, Massachusetts Rules of
                                             .              \

      Criminal Procedure Rule 30 "Post-conviction Relief," Massachusetts Rules of
      Appellate Procedure Rule 11 "Direc(Appellate Review".
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45.     (Exhibit Pa-40) 10-31-17, Letter from Plaintiff to Ms. Camilleri in which he
        reference his September 27, 2017 letter requesting that she send him the Bill in
        which created the Cuneen's legislative intent~ The Plaintiff also requested cases
        dealing with ineffective assistance of counsel. Where counsel raised the Cuneen
        factors of extreme, atrocity, and cruelty. Plaintiff also request Commonwealth v.
        Martin (Feb. 26, 2004) 467 Mass. 4 NE. 3d 1236, 2014 Mass. Lexis 32.
                                              ,,




46.      (Exhibit Pa-41)      11-14-17, Letter from Kristyn Camilleri to Plaintiff in which
         she stated that she received his letter dated October 31, 2017. She mentioned that
         she did not receive his request of a copy of the Bill in which created the Cunneen's
         legislative intent. But She included Commonwealth v. Cunneen.


47.      (Exhibit Pa-42)       12-8-17, Letter from Plaintiff to Thomas A. Turco III, in
         which the Plaintiff requested the Bill in which created the Cunneen's legislative
         inten. As well as Plaintiffs request for cases dealing with ineffective assistance of
         counsel.


48.      (Exhibiit Pa-43)      12-10-17, Letter from Pliantiff to Kristyn Camilleri in which
         Plaintiff once again refrenced his September 27, 2017 letter where Plaintiff
         requested a copy of the final language of the Bill which put into law Cunneen's
         legislative intent on it usage, and Plaintiffs request for cases dealing with
         ineffective assistance of counsel. Plaintiff also remined Ca111illeri that she had an
         obligation, along the New Jersey Department of Corrections to ensure that
         Plaintiff has access to adequate, meaningful and effective research and assistance
         in litigation. Colectively Massachusetts and New Jersey Department of Correction
         are acting in bad faith.


49.      (Exhibit Pa-44)      12-10-17, Letter of Plaintiff to Thomas A Turco III, in   whij
         Plaintif sent a copy of a letter mailed to Ms. Kristyn Camilleri. In this letJ/
         Plaintiff addressed his problems that there are countinous undue delays. Plai/

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          brought to the Turco attention that the length, of time it takes to communicate
          and receive requested information is thwarting his access to the Mass. Courts.

                                                                                          ''
    50.   (Exhiibiit Pa-45)    12-28-17, Letter from 'Kristyn Camilleri to Plaintiff, in short
          Camilleri told Plaintiff that s~e can not provide legislative bills are not available
          on her database.


    51.   (Exhibit Pa-46)      4-5-18, Letter from Plaintiff fo Thomas A. Turco in which
          Plaintiff brought to Turco attention that Kristyn Camilleri informed Plaintiff that
          her onligation is to supply Plaintiff with legal material fhat are avaibale to
          Massachusetts inmates, and that she is not required to send him Bills with the
          legislative intent. Plaintiff also asked that he be sent back to Massachusetts due to
          hard ship and lack oflegal access.


    52.   (Exhiibit Pa-47)     4-24-18, Letter from Joy Callant to Plaintiff in which she
          refrenced Plaintiff April 5th, 2018 letter to Commissioner Thomas A. Turco III,
          regarding access to material and request to MADCO. She insisted that Plaintiff
          her department is in accordance 103 CMR 478 Library Services and that Plaintiff
          out of state placement remains appropriate at this time.


    53.   (Exhibit l?a-4~)     5-9-18, Letter from Plaintiff to Thomas A. Turco, in which
          Plaintiff asked that he be allowed to appeal th~ decision of being kept out of state,
                                                                                                  J

          and that is is supposed to be allowed acces with an inmate legal
)         assistant'paralegal from Mass. Pliantiff asked t6 be returned to his home state.


    54.   (Exhibit l?a-49)     5-15-18, Letter from Plaintiff to K. Camilleri asking that he be
          provided with Massachuseets Court Procedure dealing with how to file ineffective
          assistance of counsel claims and direct review, as well as procedures dealing with
          out of state transfer and access to the court to an out of state inmate and an
          inmate within the State of Massachusetts under C.M.R.




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      55.   (Exhibit Pa-50)                5-25-18, Letter from Plaintiff to Kristyn Camilleri in which
            he requested Mass.Gen.C.124, 1 (power and· duties of the. commissioner);
            Mass.Gen.L.C.125 app. 2-1 (Interstate Correction Compact); Mass.Gen.L.c.127,
            20 (Classificaion), 97 ·(inmate transfers), 97A (State/Federal transfers), 103
            C.M.R. 420.14, 103 C.M.R. 478 Law Library, (h)G) 103 CMR 420.08 (1-4) (H-J)
            103 CMR 420.6.
                                       /
                                   (

      56.   (Exhibit Pa-51)                6-7-18, Letter from Joy Gallant to Plaintiff in regards to his
            letter dated May 9th, 2018 addressed to Commissioner Thomas A. Turco III
            regarding access to legal material1 and Pliantiffs appeal of his , our of state
            placement. Ms; Gallant informed Plaintiff that his placement out of state is.
            appropriate at this time and that his legal acces is in accoundance with 103
            CMR478 Library Servies.


      57.   (Exhibit Pa-52) undated letter from Plaintiff to Thomas A. Turco III, in which
            the Plaintiff addressed his issues of lack of legal access.


      58.   (Exhibit Pa-53)                undated leter from Kristyn Camilleri to Plaintiff in which she
            20, enclosed; 103 DOC 419 Federal/Interstate Compact, 103 CMR 420
            Classification, 103 CMR 478 Library Services, MGL c. 127 §§97 and 97A, MGL c.
            127 §2·0, MGL c. 124 §1, the Massachusetts Department of Corre~tion's Handbook
                                                                                       \
                                                                           \,
            for Massachusetts inmates Housed out of State under the Interstate Corrections
             '
            Compact, and the Massachusetts Rules of Appellate Procedure. Plaintff received
            June 20th , 2018.


      59.   (Exhibit Pa-54)                Classification Report.
      60.   (Exhiibit Pa:-ss)              6-14-18, Federal/Interstate Compact.
      61.   (Exhibit Pa-56) Plaintiffs Classification Report.
      62.   (Exhibit Pa-57)                Plaintiffs Boston Public Schools Records from the Office of
                                           Special Education.



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     63.   Due to the grossly inadequate legal access to the courts de~endants have provide.
           The plaintiff was seriously burdened by his lack of adequate access, to his counsel
           and. the courts. He has suffered a grievous loss. The policy and practice that these
           defendants has implemented has subjected plaintiff to a loss of meaningful ac{!ess
           to the courts.

                                                                         -
     64.   There was clear evidence from a neuropsychologist that testified at plaintiffs
                       I          ',


           trial. That the plaintiff had a learning disability and through his years in school
           has attended special needs learning classes. The defendants transfer of
           plai1;1tiff to an out of state prison without considering the loss of access to the
           court-deprived plaintiff of his constitutional right to equal protect of the law.
           Doctor also testified that while conducting a battery of psychological tests
           1etermined that the plaintiff had a full-scale 1.Q. of 78. Which is in the seventh
           percentile and is at the borderline of mental retardation.


     65.   (See Exhibit Pa-54)             Inquiry# NJSP19002566 - Dated 1/22/19, Plaitniff
           ask the Supervisor of Education Mr. Little if the New Jersey State ,Prison Law
           Library is equipped to help Plaintiff with Massachusetts criminal law. Ms. Little
           answered "We do not have any one that is well versed in Massachusetts criminal
                                             •              1
           law." She futher instructed Plaintiff to contact Ms. Smith.


     66.   ReUcef I



           Wherefore, the Plaintiff prays that this court grant him the following relief:


     A)    Issue a Declaratory Judgment declaring his right as it pertains to the grossly
           inadequate legal access that seriously burdening him to appeal his criminal
           conviction ("in a capitol murder)."


     B)    Grant the Plaintiff injunctive relief and order to be reh,eard in the State Court of
           Massachusetts.



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                     C)       Grant the Plaintiff injunctive relief and order his immediate return back to
                              Massachusetts.


                     D)   r   Award the Plaintiff punitive damages against each defendant, for      $75,000.00,   for
                              the hardships he is enduring due to his out-of-state transfer without due pro,cess
                              oflaw.


                     E)       Award the Plaintiff compensatory damages, jointly and severally against each
                              defendant in the amount of & 500.00 per day he is denied visitation with family           1



                              and Friends, due to him being away from his community in a place his family and
                              friends cannot visit him without undue hardship.


                     F)       Award the Plaintiff punitive and compensatory damages in the amount of Seven
                              Million dollars for denial of access to the courts and counsel due to his denial in
                              criminal appeals within the Massachusetts State and Federal Courts respectively.


                     G)       Award the Plaintiff Court cost and attorney fees.


                     H)       Grant the Plaintiff any relief this Court deems just and equitable.


                     I)       Plaintiff demands a trial by jury.


                              I declare under penalty that the forgoing is true and correct.
                                                                                                                            _J


                     Signed this&         A1     dayof_---<=_ie;t"""=-.\?---'(_9_,..._____, 2019
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                                                                          -                    ~gnature of plaintiff




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